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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------- x
SYLWIA EWELINA MADEJ MANCHANDA :
                                                            :
and RAHUL D. MANCHANDA,
                                                            :
                           Plaintiffs,                      :
                                                            :
                                                            :      No. 20 Civ. 1773 (GBD) (RWL)
         -v-
                                                            :
                                                            :
ANDREA LEWIS, Immigration Services,
SUSAN QUINTANA, New York USCIS Field :
                                                            :
Office Director, and UNITED STATES
CITIZENSHIP IMMIGRATION SERVICES, :
                                                            :
                                                            :
                           Defendants.
----------------------------------------------------------- X




              DEFENDANTS’ RESPONSE TO PLAINTIFFS’ OBJECTIONS TO
                 THE REPORT AND RECOMMENDATION GRANTING
                       DEFENDANTS’ MOTION TO DISMISS




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       Defendants Andrew Lewis (“Officer Lewis”), Field Office Director Susan Quintana

(“FOD Quintana”) and the United States Citizenship and Immigration Services (“USCIS,” and

collectively, “Defendants”), by their attorney, Audrey Strauss, United States Attorney for the

Southern District of New York, respectfully submit this memorandum of law, pursuant to

Federal Rule of Civil Procedure 72 and 28 U.S.C. § 636(b)(1), in response to the March 8, 2021

objection (“Objection”) by Plaintiffs Sylwia Ewelina Madej Manchanda and Rahul D.

Manchanda (“Plaintiffs”), ECF No. 48, to the Report and Recommendation of Magistrate Judge

Robert W. Lehrburger, dated February 23, 2021, ECF No. 46, (“Report” or “R&R”).

       The Objection fails to identify any basis to reject the well-reasoned R&R. For the

reasons set forth below, the Court should reject Plaintiffs’ Objection and grant Defendants’

motion to dismiss the Amended Complaint.

                                PRELIMINARY STATEMENT

       Plaintiffs advance five claims in this lawsuit, including under section 1983; 42 U.S.C.

§ 2000ee-1(e); Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388

(1971); the Federal Tort Claims Act (“FTCA”); and the Administrative Procedure Act (“APA”).

Magistrate Judge Lehrburger correctly concluded that each of these claims lacks merit. As the

R&R states, section 1983 claim does not apply to the federal government or its officers acting

under color of federal law; section 2000ee-1(e) does not create a private right of action; the

Bivens remedy does not extend to the context presented here; Plaintiffs failed to exhaust their

administrative remedies as required under the FTCA; and Plaintiffs fail to allege either a final

agency action or unreasonably delayed agency action in support of their APA claim. Magistrate

Judge Lehrburger therefore recommended that the section 1983, section 2000ee-1(e), and Bivens




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claims be dismissed with prejudice, and that the FTCA and APA claims be dismissed without

prejudice. See R&R at 24.

       Plaintiffs do not challenge Magistrate Judge Lehrburger’s recommendation to dismiss

their section 1983, section 2000ee-1(e), and Bivens claims with prejudice, and have therefore

waived any objections thereto. See Mario v. P&C Food Markets, Inc., 313 F.3d 758, 766 (2d

Cir. 2002) (failure to object to portion of magistrate’s report and recommendation ordinarily will

constitute waiver of challenge to that aspect of report). Plaintiffs do object to the Report’s

conclusion regarding their FTCA and APA claims. They contend that they fulfilled the FTCA’s

exhaustion requirement by filing complaints with the Department of Homeland Security’s Office

for Civil Rights and Civil Liberties (“CRCL”) on February 13, 2020, and with the USCIS

Phoenix Lockbox on March 1, 2020, and filing a SF-95 on March 6, 2020. With respect to the

APA claim, they assert that USCIS’s decision to schedule a Stokes interview constitutes a final

agency action.

       They are incorrect on both fronts. Contrary to Plaintiffs’ argument, Magistrate Judge

Lehrburger correctly concluded that Plaintiffs failed to exhaust their administrative remedies.

Indeed, the complaints Plaintiffs filed with CRCL and USCIS do not contain demands for money

damages and therefore are not “claims” for purposes of the FTCA. In any event, even if those

complaints constituted “claims,” Plaintiffs filed this action prematurely. They commenced this

litigation just 15 days after they filed their first complaint with CRCL, and before they filed their

complaint with USCIS and their SF-95. The FTCA expressly requires that plaintiffs wait to file

suit until after a final denial of their administrative claims. But even if Plaintiffs were correct

that they exhausted their administrative remedies—which they did not—the Court should still

dismiss their FTCA claim because Plaintiffs fail to state a claim for abuse of process.




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       Plaintiffs’ APA argument similarly fails: The decision to schedule a Stokes interview is

interlocutory in nature, and has not affected or determined any of Plaintiffs’ rights or obligations.

As Magistrate Judge Lehrburger correctly concluded, Plaintiffs do not adequately allege any

final agency decision that they might challenge in this litigation. To the extent this Court

disagrees, it should still dismiss Plaintiffs’ APA claim because Plaintiffs have failed to allege

that the agency action at issue was arbitrary or capricious.

                                         BACKGROUND

       As set forth in greater detail in Defendants’ memorandum of law in support of their

motion to dismiss, ECF No. 39 (“Opening Br.”), Plaintiffs Sylwia Ewelina Madej Manchanda

(“Madej”), a non-citizen of the United States, and Rahul D. Manchanda, a U.S. citizen, are

seeking the adjustment of Madej’s status under the immigration laws based on their alleged

marriage. Opening Br. at 1. They were interviewed in connection with that application on

February 13, 2020. Id. at 3. They allege that Officer Lewis, who conducted Plaintiffs’

adjustment-of-status interview, made inappropriate comments, asked improper questions, and

declined to adjust Madej’s status to that of lawful permanent resident. Id. at 3-4. They further

allege that Officer Lewis and her colleagues retaliated against them after they filed a complaint

against Officer Lewis on February 13, 2020. Id. at 4. On February 27, 2020, Madej received

notice to appear for a Stokes interview. Id. Plaintiffs then filed a second complaint against

Officer Lewis, after which, they claim, FOD Quintana began to retaliate against them. Id.

       On February 28, 2020, Madej filed a Complaint in this Court against Officer Lewis,

advancing claims under section 1983 and section 2000ee-1(e). ECF No. 1. On June 15, 2020,

Plaintiffs filed an Amended Complaint, adding FTCA, APA, and Bivens claims. ECF No. 32.

On July 31, 2020, Defendants filed their motion to dismiss the Amended Complaint. Magistrate




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Judge Lehrburger’s February 23, 2021 Report recommends that the Court grant Defendants’

motion to dismiss. ECF No. 46.

                                   STANDARD OF REVIEW

       In reviewing a magistrate judge’s report and recommendation, a district court “may

accept, reject, or modify, in whole or in part, the findings or recommendations made by the

magistrate judge.” 28 U.S.C. § 636(b)(1). Pursuant to Federal Rule of Civil Procedure 72(b), a

party may make “specific written objections to the proposed findings and recommendations”

within 14 days of being served with a copy of a magistrate judge’s recommended disposition.

Fed. R. Civ. P. 72(b)(2). Where a party submits an objection to a report and recommendation,

the district court reviews the parts of the report to which the party objected under a de novo

standard of review. See Fed. R. Civ. P. 72(b)(3); United States v. Male Juvenile, 121 F.3d 34, 38

(2d Cir. 1997). “When no timely objection is made to a magistrate judge’s report, a district court

may adopt the report unless a ‘clear error on the face of the record’ is present.” Johnson v. New

York Univ., No. 17 Civ. 6184 (VEC), 2018 WL 4908108, at *3 (S.D.N.Y. Oct. 10, 2018).

                                          ARGUMENT

I.     MAGISTRATE JUDGE LEHRBURGER CORRECTLY CONCLUDED THAT
       PLAINTIFFS’ FTCA CLAIM FAILS

       Plaintiffs identify no valid basis to overturn Magistrate Judge Lehrburger’s conclusion

that Plaintiffs failed to exhaust their administrative remedies and that their FTCA claim should

therefore be dismissed. Plaintiffs present two arguments. First, they claim that documents they

attach to their Objection demonstrate that they exhausted their remedies. Second, they assert that

exhaustion of remedies may be waived.

       Plaintiffs are incorrect. To begin, none of the documents attached to their Objection

undermines Magistrate Judge Lehrburger’s conclusion that they failed to exhaust their



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administrative remedies. Under the FTCA, a claim is not filed until a federal agency “receives

from a claimant written notification of an incident ‘accompanied by a claim for money damages

in a sum certain for injury to or loss of property.’” Johnson v. The Smithsonian Institution, 189

F.3d 180, 190 (2d Cir. 1999) (citing 28 C.F.R. § 14.2(a)). The FTCA further requires that,

before a plaintiff files suit, he waits until “his claim shall have been finally denied by the agency

in writing and sent by certified or registered mail.” 28 U.S.C. § 2675(a). The agency is deemed

to have denied a claim if it fails to act on it within six months of receipt. Id.

       Plaintiffs attach three relevant documents to their Objection: an SF-95, dated March 6,

2020, and complaints filed with CRCL and USCIS Phoenix Lockbox on February 13, 2020 and

March 1, 2020, respectively. Neither of the complaints Plaintiffs filed with CRCL and USCIS

Phoenix Lockbox includes a claim for money damages. See ECF No. 48-3, 48-4. Therefore,

neither constitutes a “claim” for FTCA purposes. The only “claim” Plaintiffs have filed is the

SF-95, ECF No. 48-1, which they filed on March 6, 2020, 6 days after they initiated the instant

litigation. Strikingly, on their SF-95, they respond to questions regarding the basis of their claim

and the damages they seek by writing, “SEE ATTACHED AMENDED SUMMONS &

COMPLAINT SDNY CASE INDEX 1:20-CV-1773.” Id. There can be no clearer indication

that Plaintiffs failed to exhaust their administrative remedies before filing suit, as required under

the FTCA. 28 U.S.C. § 2675(a). That jurisdictional deficiency is fatal to Plaintiff’s claim:

Plaintiffs are not permitted to cure any such deficiency in the context of this litigation. See, e.g.,

MBE Cap. Partners LLC v. AVPOL Int’l LLC, No. 17 Civ. 5992 (PGG), 2019 WL 568687, at *5

(S.D.N.Y. Feb. 11, 2019) (“[T]he fact that six months have passed since Plaintiff submitted its

claim to the [agency] does not cure the jurisdictional defect. The requirement that prematurely

filed FTCA claims be dismissed holds even when the FTCA claims would be ripe if re-filed at




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the date of the court’s decision.”); see also Thomas v. City of New York, No. 19 Civ. 11028

(CM), 2020 WL 353575, at *3 (S.D.N.Y. Jan. 17, 2020) (dismissing without prejudice FTCA

claim where plaintiff had failed to exhaust administrative remedies); Morgan v. Ward, No. 14

Civ. 7921 (GHW), 2016 WL 427913, at *4 (S.D.N.Y. Feb. 2, 2016) (same).

        Plaintiffs also contend that courts may waive the exhaustion requirement. Not so. The

Second Circuit has long held that the FTCA’s exhaustion requirement “is jurisdictional and

cannot be waived.” Celestine v. Mt. Vernon Neighborhood Health Ctr., 403 F.3d 76, 82 (2d Cir.

2005) (citations omitted). Plaintiffs identify no case law to suggest otherwise. The case they

rely on primarily—McCarthy v. Madigan, 503 U.S. 140 (1992)—is inapposite. McCarthy

involved a Bivens action brought by a federal inmate, not a FTCA action. See generally id.

Moreover, McCarthy has been superseded by statute, as recognized in Woodford v. Ngo, 548

U.S. 81, 85 (2006) (concluding that, under the Prison Litigation Reform Act, “[e]xhaustion is no

longer left to the discretion of the district court, but is mandatory”).

        But even if Plaintiffs’ exhaustion arguments had merit—which they do not—the Court

should still dismiss Plaintiffs’ FTCA claim because Plaintiffs have failed adequately to allege the

elements of the underlying tort, abuse of process. Under New York law, an abuse of process

claim requires a plaintiff to allege that the defendant “(1) employ[ed] regularly issued legal

process to compel performance or forbearance of some act; (2) with intent to do harm without

excuse or justification; and (3) in order to obtain a collateral objective that is outside legitimate

ends of process.’” Williams v. Young, 769 F. Supp. 2d 594, 603 (S.D.N.Y. 2011) (quoting

Savino v. City of New York, 331 F.3d 63, 76 (2d Cir. 2003)).

        To state a claim for abuse of process, the plaintiff must allege that the defendant initiated

a legal process against her. “Process is a direction or demand that the person to whom it is




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directed shall perform or refrain from the doing of some described act.” Williams v. Williams,

298 N.Y.2d 592, 596 (1969). New York courts have held that “process” must be “issued by or

filed in a court.” Glaser v. Kaplan, 170 N.Y.S.2d 522, 525 (2d Dep’t 1958); see also Walia v.

Holder, 59 F. Supp. 3d 492, 512 (E.D.N.Y. 2014) (concluding that plaintiff failed to advance a

viable abuse of process claim because he did not allege that defendants “obtained any court

issued process”). Here, the only party that initiated any process at all are Plaintiffs. Defendants

never initiated a process against Plaintiffs, much less one in court. Plaintiffs have not

identified—and this Office is not aware of any—instance in which an abuse of process claim has

been found to apply to adjustment of status proceedings, or for that matter in any context where

plaintiffs initiated the administrative proceeding that defendants allegedly abused.

       Moreover, courts have concluded that, under New York law, a plaintiff must allege

special damages in order to state a claim for abuse of process. See Kanciper v. Lato, 989 F.

Supp. 2d 216, 237 (E.D.N.Y. 2013) (citing Morea v. Saywitz, 09-CV-4410, 09-CV-3935 (IEG)

(CAB), 2010 WL 475302, at *3 (E.D.N.Y. Feb. 8, 2010)); see also Bd. of Educ. of Farmingdale

Union Free Sch. Dist. v. Farmingdale Classroom Teachers Assoc., 38 N.Y.2d 397, 405 (1975).

Plaintiffs have not alleged any such damages.

       For these reasons, Plaintiffs’ FTCA claim should be dismissed.

II.    MAGISTRATE JUDGE LEHRBURGER CORRECTLY CONCLUDED THAT
       PLAINTIFFS’ APA CLAIM FAILS

       Plaintiffs’ Objection to Magistrate Judge Lehrburger’s recommendation to dismiss their

APA claim similarly fails. They argue that “Magistrate Lehrburger errs in concluding that no

reviewable ‘final agency action’ has occurred when an I-485/I-130 adjustment of status and

petition for relative ends in requiring a Stokes Interview.” ECF No. 48 at 16. In their view, a

decision to schedule a Stokes interview is a final agency action because it is “intrusive” and



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“premised on an agency conclusion that the application (and the marriage itself) is fraudulent.”

ECF No. 48 at 16.

       Not so. For an agency action to be “final,” two conditions must be met: First, it must

“mark the consummation of the agency’s decision-making process—it must not be of a merely

tentative or interlocutory nature. Second, the action must be one by which rights or obligations

have been determined, or from which legal consequences will flow.” Bennet v. Spear, 520 U.S.

154, 177-78 (1997). Neither condition is met here. No agency decision has been consummated:

Plaintiffs’ adjustment of status application remains pending, and the agency is actively seeking to

adjudicate Plaintiffs’ request, as evidenced by the Stokes interview notice sent to Plaintiffs.

Plaintiffs themselves appear to appreciate this; in their Objection, they themselves characterize

the Stokes interview as a “final investigative remedy [sic].” ECF No. 48 at 17. In other words,

they acknowledge that the Stokes interview is part of USCIS’s investigation. It is not, in itself, a

final agency action. Rather, the decision to schedule a Stokes interview is interlocutory in

nature, and does not affect or determine Plaintiffs’ rights or obligations. This Court therefore

lacks subject matter jurisdiction over Plaintiffs’ claim. Air Espana v. Brien, 165 F.3d 148 152

(2d Cir. 1999) (“The APA…requirement of finality is jurisdictional.”).

       Even if that were not so, the Court should still dismiss Plaintiffs’ APA claim on the

alternative basis that Plaintiffs have failed adequately to allege that the decision to issue a Stokes

interview notice was arbitrary and capricious. Plaintiffs assert, in conclusory terms, that Officer

Lewis issued the Stokes interview notice to retaliate against them for filing complaints against

her. Yet, as discussed in Defendants’ memorandum of law in support of their motion to dismiss,

Plaintiffs do not allege that Officer Lewis knew that Plaintiffs had filed a complaint at all.

Opening Br. 19. Instead, their sole relevant allegation is that Officer Lewis issued the Stokes




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interview notice after they had filed a complaint against Officer Lewis. Id. Without more, that is

insufficient to establish that Officer Lewis knew about their complaint against her, much less that

she issued a Stokes interview notice to retaliate against them. Id. This is especially so because a

more plausible explanation comes from the nature of an adjustment-of-status interview, which is

commonly and properly used by immigration officials to assess the bona fides of marriages that

are used as the basis for immigration relief. Id.

                                          CONCLUSION

         For the foregoing reasons, the Court should reject Plaintiff’s Objection, adopt Magistrate

Judge Lehrburger’s recommendations in full, and dismiss the Amended Complaint.


Dated:     March 15, 2021
           New York, New York

                                               Respectfully submitted,

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